
7 Cal.App.2d 543 (1935)
THE PEOPLE, Respondent,
v.
E. D. WILSON, Appellant.
Crim. No. 184. 
California Court of Appeals. Fourth Appellate District.  
June 12, 1935.
 William J. F. Brown for Appellant.
 U.S. Webb, Attorney-General, and Frank Richards, Deputy Attorney-General, for Respondent.
 Barnard, P. J.
 The defendant, after conviction on a charge of driving a vehicle on a public highway while under the influence of intoxicating liquor, has attempted to appeal and the respondent has moved to dismiss the appeal.
 [1] When the verdict was entered counsel for appellant stated that he was giving oral notice of appeal. This notice was premature and without effect. (People v. Ward, 138 Cal. 684 [72 P. 343]; People v. Hill, 1 Cal.App. 414 [82 P. 398].) [2] Thereafter judgment was entered, no notice of appeal being then given. Five days later, a written notice of appeal from the judgment and from an order denying a motion for a new trial was filed. This notice was too late and was ineffectual for any purpose. (Sec. 1239, Pen. *544 Code; People v. Lewis, 219 Cal. 410 [27 PaCal.2d 73]; People v. Sullivan, 123 Cal.App. 436 [11 PaCal.2d 420]; People v. Payne, 106 Cal.App. 609 [289 P. 909].)
 The motion is granted and the appeal is dismissed.
 Marks, J., and Harden, J., pro tem., concurred.
